

People v Williams (2023 NY Slip Op 05228)





People v Williams


2023 NY Slip Op 05228


Decided on October 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 17, 2023

Before: Webber, J.P., Oing, Gesmer, Rodriguez, Rosado, JJ. 


Ind. No. 3658/16 Appeal No. 811 Case No. 2021-04137 

[*1]The People of the State of New York, Respondent,
vCollins Williams, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Rachel L. Pecker of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Katherine A. Triffon of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about November 4, 2021, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant defendant's request for a downward departure (People v Gillotti, 23 NY3d 841, 861 [2014]). The mitigating factors cited by defendant were either adequately accounted for in the risk assessment instrument or were outweighed by the seriousness of the underlying sexual offense against a minor over the course of a year (see People v Malloy, 213 AD3d 417 [1st Dept 2023]; People v Palmer, 166 AD3d 536 [1st Dept 2018], lv denied 32 NY3d 919 [2019]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 17, 2023








